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                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             SACR 21-00016-JVS

 Defendant           Thomas Thinh Vu                                         Social Security No.   9       3   7     5
 akas
                                                                             (Last 4 digits)
 :    Thomas “Tom” Thinh Vu




                                                                                                                    MONTH      DAY     YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.           10     04       21

  COUNSEL                                                             Diane Bass, Retained
                                                                             (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                   NOT
                                                                                                               CONTENDERE               GUILTY
  FINDING            There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                     Aiding and Abetting the Engagement in the Business of Dealing in Firearms Without a License in violation of 18 USC
                     Sections 922(a)(1)(A), 924(a)(1)(D), 2(a) as charged in Count 1 of the Information

JUDGMENT             The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/            contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM               Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby placed on Probation
  ORDER              for a term of: TWO YEARS on the Single Count Information

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due immediately.

It is ordered that the defendant shall pay to the United States a total fine of $2,000, which shall bear interest as provided
by law.

The fine shall be paid in full immediately.

The defendant shall comply with Second Amended General Order No. 20-04.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Thomas Thinh Vu, is
hereby placed on probation on the single-count Information for a term of two years under the following terms and
conditions:

              1. The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services
                 Office and Second Amended General Order 20-04, including the conditions of probation and supervised
                 release set forth in Section III of Second Amended General Order 20-04.

              2. During the period of community supervision, the defendant shall pay the special assessment and fine in
                 accordance with this judgment's orders pertaining to such payment.

              3. The defendant shall cooperate in the collection of a DNA sample from the defendant.

              4. The defendant shall perform 100 hours of community service, as directed by the Probation Officer.

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              5. The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance,
                 judgments and any other financial gains to the Court-ordered financial obligation.

              6. The defendant shall submit the defendant's person, property, house, residence, vehicle, papers, or other areas
                 under the defendant's control, to a search conducted by a United States Probation Officer or law enforcement
                 officer. Failure to submit to a search may be grounds for revocation. The defendant shall warn any other
                 occupants that the premises may be subject to searches pursuant to this condition. Any search pursuant to
                 this condition will be conducted at a reasonable time and in a reasonable manner upon reasonable suspicion
                 that the defendant has violated a condition of his supervision and that the areas to be searched contain
                 evidence of this violation.

         The drug testing condition mandated by statute is suspended based on the Court's determination that the defendant
         poses a low risk of future substance abuse.

         Defendant is advised of his appeal rights.

         Bond is exonerated.




           In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation
           and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend
           the period of supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue
           a warrant and revoke supervision for a violation occurring during the supervision period.




                     October 5, 2021
                     Date                                                  JAMES V. SELNA, U.S. District Judge

           It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified
           officer.

                                                                           Clerk, U.S. District Court



                     October 5, 2021                        By             Deborah Lewman
                     Filed Date                                            Deputy Clerk




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           The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                             STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                              While the defendant is on probation or supervised release pursuant to this judgment:
           1.     The defendant must not commit another federal, state, or           9.    The defendant must not knowingly associate with any persons
                  local crime;                                                             engaged in criminal activity and must not knowingly associate
           2.     The defendant must report to the probation office in the                 with any person convicted of a felony unless granted
                  federal judicial district of residence within 72 hours of                permission to do so by the probation officer. This condition
                  imposition of a sentence of probation or release from                    will not apply to intimate family members, unless the court
                  imprisonment, unless otherwise directed by the probation                 has completed an individualized review and has determined
                  officer;                                                                 that the restriction is necessary for protection of the
           3.     The defendant must report to the probation office as                     community or rehabilitation;
                  instructed by the court or probation officer;                      10.   The defendant must refrain from excessive use of alcohol and
           4.     The defendant must not knowingly leave the judicial                      must not purchase, possess, use, distribute, or administer any
                  district without first receiving the permission of the court             narcotic or other controlled substance, or any paraphernalia
                  or probation officer;                                                    related to such substances, except as prescribed by a
           5.     The defendant must answer truthfully the inquiries of the                physician;
                  probation officer, unless legitimately asserting his or her        11.   The defendant must notify the probation officer within 72
                  Fifth Amendment right against self-incrimination as to                   hours of being arrested or questioned by a law enforcement
                  new criminal conduct;                                                    officer;
           6.     The defendant must reside at a location approved by the            12.   For felony cases, the defendant must not possess a firearm,
                  probation officer and must notify the probation officer at               ammunition, destructive device, or any other dangerous
                  least 10 days before any anticipated change or within 72                 weapon;
                  hours of an unanticipated change in residence or persons           13.   The defendant must not act or enter into any agreement with
                  living in defendant’s residence;                                         a law enforcement agency to act as an informant or source
           7.     The defendant must permit the probation officer to                       without the permission of the court;
                  contact him or her at any time at home or elsewhere and            14.   The defendant must follow the instructions of the probation
                  must permit confiscation of any contraband prohibited by                 officer to implement the orders of the court, afford adequate
                  law or the terms of supervision and observed in plain                    deterrence from criminal conduct, protect the public from
                  view by the probation officer;                                           further crimes of the defendant; and provide the defendant
           8.     The defendant must work at a lawful occupation unless                    with needed educational or vocational training, medical care,
                  excused by the probation officer for schooling, training,                or other correctional treatment in the most effective manner.
                  or other acceptable reasons and must notify the probation
                  officer at least ten days before any change in
                  employment or within 72 hours of an unanticipated
                  change;




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             The defendant must also comply with the following special conditions (set forth below).

            STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL
           SANCTIONS

                   The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives
           interest or unless the fine or restitution is paid in full before the fifteenth (15th) day after the date of the
           judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject to penalties for default and delinquency
           under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable for
           offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid
           by certified check or money order made payable to “Clerk, U.S. District Court.” Each certified check or
           money order must include the case name and number. Payments must be delivered to:

                     United States District Court, Central District of California
                     Attn: Fiscal Department
                     255 East Temple Street, Room 1178
                     Los Angeles, CA 90012

           or such other address as the Court may in future direct.

                   If all or any portion of a fine or restitution ordered remains unpaid after the termination of
           supervision, the defendant must pay the balance as directed by the United States Attorney’s Office. 18 U.S.C.
           § 3613.

                   The defendant must notify the United States Attorney within thirty (30) days of any change in the
           defendant’s mailing address or residence address until all fines, restitution, costs, and special assessments are
           paid in full. 18 U.S.C. § 3612(b)(l)(F).

                   The defendant must notify the Court (through the Probation Office) and the United States Attorney of
           any material change in the defendant’s economic circumstances that might affect the defendant’s ability to
           pay a fine or restitution, as required by 18 U.S.C. § 3664(k). The Court may also accept such notification
           from the government or the victim, and may, on its own motion or that of a party or the victim, adjust the
           manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and
           for probation 18 U.S.C. § 3563(a)(7).

                     Payments will be applied in the following order:

                          1. Special assessments under 18 U.S.C. § 3013;
                          2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid
           before the United
                               States is paid):
                                  Non-federal victims (individual and corporate),
                                  Providers of compensation to non-federal victims,
                                  The United States as victim;
                          3. Fine;
                          4. Community restitution, under 18 U.S.C. § 3663(c); and
                          5. Other penalties and costs.

             CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL
                                           SANCTIONS

                  As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a
           signed release authorizing credit report inquiries; (2) federal and state income tax returns or a signed release
           authorizing their disclosure and (3) an accurate financial statement, with supporting documentation as to all
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                                                                RETURN

            I have executed the within Judgment and Commitment as follows:
            Defendant delivered on                                              to
            Defendant noted on
            appeal on
            Defendant released on
            Mandate issued on
            Defendant’s appeal
            determined on
            Defendant delivered on                                              to
      at
                the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and
                Commitment.
                                                                    United States Marshal


                                                       By
                      Date                                          Deputy Marshal



                                                            CERTIFICATE

            I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original
            on file in my office, and in my legal custody.
                                                                    Clerk, U.S. District Court


                                                       By
                      Filed Date                                    Deputy Clerk




                                           FOR U.S. PROBATION OFFICE USE ONLY


           Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke
           supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.

                  These conditions have been read to me. I fully understand the conditions and have been provided a
           copy of them.


                     (Signed)
                            Defendant                                            Date

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                      U. S. Probation Officer/Designated Witness              Date




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